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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

In re:                                     ) Chapter 11
                                           )
BCause Mining LLC,                         )
                                           ) Judge Janet S. Baer
Debtor/Debtor-in-Possession.               )
                                           ) Case No. 19-10562


                                NOTICE OF MOTION

TO:      ATTACHED SERVICE LIST

       PLEASE TAKE NOTICE that on the 18th day of April, 2019, at 9:30 a.m., or
soon thereafter as counsel can be heard, I shall appear before the Honorable Janet S.
Baer, Bankruptcy Judge, in the room usually occupied by him as Courtroom 615 in the
United States Bankruptcy Court in the Everett McKinley Dirksen Federal Building, 219
S. Dearborn Street, Chicago, Illinois, or before any other Judge who may be sitting in his
place and stead and shall present the Motion of Debtor For Authority to Use Cash
Collateral and Related Relief, a copy of which is attached hereto and herewith served
upon you, and shall pray for the entry of an Order in compliance therewith.

         AT WHICH TIME and place you may appear if you so see fit.

                                                            /s/Scott R. Clar
                                                            Crane, Simon, Clar & Dan
                                                            135 S. LaSalle St., Ste. 3705
                                                            Chicago, Illinois 60603
                                                            (312) 641-6777

                            CERTIFICATE OF SERVICE

        The undersigned, being first duly sworn on oath deposes and states that he caused
a copy of the foregoing Notice and attached Motion to be served on all parties listed on
the attached Service List via the Court’s Electronic Registration (ECF) (where indicated),
or via First Class U.S. Mail (where indicated), properly addressed and postage pre-paid
on the 11th day of April, 2019.

                                                            /s/Scott R. Clar




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                                      SERVICE LIST

Served Via ECF                                     srobbins@robbins-lawgroup.com
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Nielsen, Zehe & Antas, P.C.                        CB Critical Systems
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                                                   HK Cryptocurrency Mining LLC

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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                      ) Chapter 11
                                            )
BCause Mining LLC,                          )
                                            ) Judge Janet S. Baer
Debtor/Debtor-in-Possession.                )
                                            ) Case No. 19-10562

                    MOTION OF DEBTOR FOR AUTHORITY TO USE
                     CASH COLLATERAL AND RELATED RELIEF

         BCause Mining LLC, a Virginia limited liability company, Debtor/Debtor-in-Possession

herein (“Debtor”), by and through its attorneys, makes its Motion For Authority to Use Cash

Collateral and Related Relief (“Motion”), pursuant to Section 363 of the Bankruptcy Code, Rule

4001(b) of the Federal Rules of Bankruptcy Procedure and Rule 4001-2 of the Local Rules of

this Court (“Local Rules”), and in support thereof, states as follows:

                                       INTRODUCTION

         1.     On April 11, 2019, the Debtor filed its voluntary petition for relief under Chapter

11 of the Bankruptcy Code (“Petition Date”).

         2.     The Debtor has been operating its business and managing its financial affairs as

debtor-in-possession since the Petition Date. No trustee, examiner or committee of unsecured

creditors has been appointed in the Debtor’s Chapter 11 case.

         3.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. Sections 157

and 1334.

         4.     This matter constitutes a “core” proceeding within the meaning of 28 U.S.C.

Section 157(b)(2)(A), (M) and (O).




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       5.      The statutory predicates for the relief requested in this Motion are Section 363 of

the Bankruptcy Code, and Rule 4001-2 of the Local Rules.

       6.      By this Motion, the Debtor requests that this Court authorize it to use certain cash

and cash equivalents that allegedly serve as collateral for claims asserted against the Debtor and

its property by the WESCO Distribution, Inc. (“WESCO”).

                           RELEVANT FACTUAL BACKGROUND

       7.      The Debtor is in in the business crypto currency mining, which is the process of

producing digital currency using cryptography and high-powered computers known as mining

rigs, or minors. The Debtor does not itself mine, but is a service provider that hosts a mining

venue for its customers.

       8.      The Debtor provides a state of the art mining facility in Virgina Beach, Virginia,

and maintains offices located at 130 S. Jefferson Street, Suite 101, Chicago, Illinois, 60661.

       9.      The Debtor is wholly owned by BCause LLC, which is a limited liability holding

company also formed in Virginia.

       10.     The Debtor’s Chapter 11 filing was triggered by a judgment entered in favor of

WESCO in the approximate amount of $1,300,000 and a garnishment of BCause LLC’s bank

account, from which all of the Debtor’s bills are paid, including bills for utilities such as

Dominion Energy, which has threatened a shut-off of the Debtor’s utilities for non-payment, as

of April 12, 2019.

       11.     BCause LLC will itself file a Chapter 11 case as soon as possible in order to free

up funds for the Debtor and BCause LLC.




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        12.      The Debtor does not have any employees, as all employees are employed by

BCause LLC.         BCause LLC employs twenty-seven (27) full time and four (4) part time

employees in the Debtor’s Chicago and Virginia Beach locations.

        13.      WESCO asserts a security interest in cash equivalents, including the Debtor’s

cash and accounts receivable, among other collateral (the “Collateral”).

        14.      The Debtor, as of the Petition Date, had an interest in the BCause LLC bank

account which totals approximately $911,000, accounts receivable of approximately $1,021,000

and machinery and electrical equiptment, upon which WESCO also asserts a secured position,

having a values of approximately $7.5 million.

                                    USE OF CASH COLLATERAL

        15.      In order for the Debtor to continue to operate its business, manage its financial

affairs, and effectuate an effective reorganization, it is essential that the Debtor be authorized to

use cash collateral for, among other things, the following purposes1:

        A.       Insurance;

        B.       Utilities;

        C.       Purchase of Inventory; and

        D.       Other miscellaneous items needed in the ordinary course of business.

Attached to this Motion as Exhibit A are the Debtor’s monthly cash flow projections for the

period April 12, 2019, through May 13, 2019 (the “Budget”). The Budget itemizes the Debtor’s

cash needs during the relevant period.

        16.      Use of cash collateral to pay the actual, necessary and ordinary expenses to

maintain the Debtor’s business, as set forth in the Budget, will preserve the value of the Debtor’s

1
 Cash collateral usage will commence upon the filing of the BCause LLC Chapter 11 case, and the freeing of the
BCuase LLC bank account from which the Debtor’s bills are paid. BCause LLC has approx. $900,000 in a bank
account at Lakeside Bank.

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assets and business and thereby ensure that the interests of creditors that have or may assert an

interest in both cash collateral and the Debtor’s other assets are adequately protected within the

meaning of Sections 361, 362 and 363 of the Bankruptcy Code.

        17.      The Debtor proposes, subject to the approval of this Court, to use cash collateral

in which WESCI asserts an interest. The Debtor’s proposed use pursuant to the Budget will

permit the Debtor to sustain its business operations and reorganize its financial affairs through

the implementation of a successful plan of reorganization. Furthermore, the Debtor’s proposal

will adequately protect the purported secured interests of WESCO.

        18.      Unless the Debtor is authorized to use cash collateral in which WESCO asserts an

interest, the Debtor will be unable to continue to operate its business and manage its financial

affairs, thereby reducing any reasonable prospect for a successful reorganization. The cessation

of normal business operations by the Debtor will cause irreparable harm to the Debtor, its

creditors and this estate.

        19.      The Debtor proposes to use cash collateral and provide adequate protection to the

Secured Parties upon the following terms and conditions:2

        A.       The Debtor will permit WESCO to inspect, upon reasonable notice, and
                 within reasonable business hours, the Debtor’s books and records;

        B.       The Debtor shall maintain and pay premiums for insurance to cover all of its
                 assets from fire, theft and water damage;

        C.       The Debtor shall, upon reasonable request, make available to WESCO evidence
                 of that which purportedly constitutes their collateral or proceeds;

        D.       The Debtor will properly maintain the collateral and properly manage the
                 collateral; and




2
 Based upon the Debtor’s proposal for the use of cash collateral, none of the disclosures required under Rule 4001-2
of the Local Rules are necessary.

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       E.      The Debtor will grant replacement liens to WESCO to the extent of WESCO’s
               pre-petition lien, if any, and attaching to the same assets of the Debtor in which
               the WESCO asserted pre-petition liens.

       20.     Further cash flow budgets, if necessary, will be submitted to this Court pursuant

to this Motion. The Debtor will make the expenditures set forth on Exhibit A to this Motion,

plus no more than 10% of the total proposed expense payments, unless otherwise agreed to by

WESCO or upon further Order of this Court.

                                         CONCLUSION

       21.     The Debtor requests, pursuant to Rule 4001(b)(2) of the Federal Rules of

Bankruptcy Procedure, that this Court conduct a preliminary hearing to authorize the Debtor’s

interim use of cash collateral pending a final hearing on this Motion.

       22.     The Debtor believes that it is in the best interest of the Debtor, its creditors, and

this estate to authorize it to use that portion of its assets herein requested, all or a portion of

which may constitute cash collateral, in that, without the limited use of those assets as herein

requested, the Debtor will be unable to pay and satisfy its current operating expenses, thereby

resulting in immediate and irreparable harm and loss to the estate.

       23.     For the reasons set forth herein, this Court should grant the relief requested in this

Motion.

       WHEREFORE, BCause Mining LLC, a Virginia limited liability company,

Debtor/Debtor-in-Possession herein, prays for the entry of an Order as follows:

       A.      Authorizing the Debtor to use cash collateral in which WESCO asserts liens, upon

the terms and conditions set forth in this Motion, until further Order of this Court;

       B.      Preliminarily authorizing the Debtor to use cash collateral pending a final hearing

on this Motion;



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      C.    Setting a final hearing on this Motion; and

      D.    Granting such other relief as this Court deems just and appropriate.

                                                 BCause Mining LLC, a Virginia limited
                                                 liability company,


                                                 By:/s/Scott R. Clar
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